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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION



  UNITED STATES OF AMERICA                    )
                                              )
         v.                                   )       Crim. No. 5:10-cr-15
                                              )
  NAKIA HEATH KELLER                          )



                   MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

         The undersigned counsel respectfully submits this motion for leave to withdraw as

  counsel for the Appellant, Nakia Heath Keller. The undersigned counsel has resigned from the

  Federal Public Defender’s office effective September 6, 2021. Mr. Keller will continue to be

  represented by Arin Brenner from our office.

                                       Respectfully submitted,


                                       s/ Lisa M. Lorish
                                       Lisa Marie Lorish
                                       Assistant Federal Public Defender
                                       410 East Market St, Ste 106
                                       Charlottesville, VA 22902
                                       Lisa_lorish@fd.org




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                                   CERTIFICATE OF SERVICE


         I hereby certify that on August 25, 2021, I electronically filed the foregoing motion of

  Appellant with the Clerk of the Court using the CM/ECF System, which will send notice, and

  constitute service, of such filing to all registered CM/ECF users.

                                                       /s Lisa M. Lorish




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